                 UNITED STATES DISTRICT COURT
                    DISTRICT OF CONNECTICUT


Ronald C. Spear-Zuleta
Reg. No. 25308-111
Canaan USP
P.O. Box - 300
Waymart, Pennsylvania 18472


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UNITED STATES OF AMERICA,
            v.
RONALD C. SPEAR-ZULETA,
                Movant.
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           MOTION UNDER 28 U.S.C. § 2255 TO VACATE,
                SET ASIDE, OR CORRECT SENTENCE


1. (a) Name and location of court that entered the judgment
   you are clwllenging: Richard c. Lee Unitt~d States Court··
   house, 141 Church Stre~t,Room 214, New Haven, CT 05510.

   (b) Criminal docket or case number (if you know):
   No. 3:iB-cr-311-JCH-1
2. (a) Date of the judgment of conviction(if you know):
   April 27, 2021.
   (b) Date of sentencing: April 27, 2021.
3. Length of sentence: 135 months.
4. Nature of crime(all counts): 18 u.s.c. § 1951(a)(Interferene
   with Commerce by Robbery); 18 u.s.c. § 1201(a)(i)(Kidnapping);
   18 u.s.c. § 371(Conspiracy); 18 u.s.c. § 2 (Aiding and
   Abetting).

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5. (a) What was your plea? (Check one)
       (1) Not guilty [ ] (2) Guilty [x]       (3) Nolo contendere
       (no contest) [ ]
   (b) If you entered a guilty plea to one count or indictment,
   and a not guilty plea to another count or indictment, what
   did you plead guilty to and what did you plead not guilty to?
   Count One to 18 U.S.C. § 1951(a)(Hobbs Act Robbery).
6. If you went to trial, what kind of trial did you have?
   (Check one) Jury [ ]     Judge only [ ]
7. Did you testify at a preiiial hearing, trial, or post-trial
   hearing? Yes [ ]     No [x]
8. Did you appeal from the judgment of conviction? Yes [x]
   No [ ]
9. If you did appeal, answer the following:
   (a) Name of •court: U.S. court of Appeals {2nd. Cir.)
   (b) Docket or case number (if you know): 21-1158
   (c) Result: Judgment Affirmed
   (~) Date of result (if you know): December 1, 2022
   (e) Citation to the ca~e (if you know): 2022 U.S. App. LEXIS
   33171.
   (f) Grounds raised: The district court failed to ensure that
   his guilty plea complied with Federal ~ule of Ctiminal Pro-
   cedure 11 (Rule 11).
   a. Factual Basis for the Plea.
      The district court did not comply with Rule ll(b)(3) in
      accepting his guilty plea because, .:,.at the time of the
      change-of~plea proceeding, there was no factual basis to
      establish that the robbery impacted interstate commerce,
      as required under the Hobbs Act.
   b. Understanding the Nature of the Charges.
      The district court did not complied with Rule ll(b)(l)(G)
      because it failed to ensure that he understood the nature
      of the charge before entering the plea.
   c. Failure to Disclose Impeachment Material.
      The district court erred in denying his second motion
      to withdraw the guilty plea because the government's
      failure to produce certain impeachment evidence con-
      cerning Ashley Branham-Robinson's fiancee and the
      government's key witness-prevented him from knowingly
      entering the plea.
  II. Sentencing.
      The district court's sentence was procedurally unrea-
      sonable because it erfed in applying a one-level enhari-
      cement for the taking of a controlle~ substance during
      the robbery under Section 2B3.1(b)(6) of the Guidelines.
   (g) Did you file a petition for certiorari in the United
   States Supreme Court?. Y~,s [ ] No [x]
       If "Yes," answer the following:
       (1) Docket or case number (if you l<riow):
       (2) Result:
       (3) Date of result (if you know):
       (4) Citation to the case (if you know):
       (5) Grounds raised:
10. Other than the direct ~ppeals listed above, have you previ-
    ou~ly filed any other motion, petitions, or applications
    concerning this judgment of conviction in any court?
    Yes [ ]   No.[x]
11. If your answer to Question 10 was "Yes," give the following
    (a) (1) Name of court:
        (2) Docket or case number (if you know):
        (3) Date of filing (if you know):
        (4).Nature of the proceeding:
        (5) Grounds raised:
        (6) Did you receive a hearing where evidence was given
        on your motion, petition, or application? Yes [ ]
        No [ ]
        (7) Result:
        (8) Date of result (if you know):



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    (b) If you filed any second motion, petition, or application,
    give the same information:
        (1) Name of court:
        (2)   Docket or case number (if you know):
        (3)   Date of filing (if you know):
        (4)   Nature of the proceeding:
        (5)   Grounds raised:
        (6) Did you receive a hearing where evidence was given
        on your motioJJ, petition, or application? Yes [ ]
        No [ x]
        (7) Result:
        (8) Date of result (if you know):
    (c) Did yoµ appeal to. a federal appellate court haviug juri-
    sdiction over the action taken on your motion, petition, or
    application?
        (1) First petition:         Yes [ ]   No [x]
        (2) Second petition:        Yes [ ]   No [x]
    (d) If you did not appeal from the action on any motion,
    petition, or application, explain briefly why you did not:
    Not applicable.
12. For this motion, state every ground on which you claim that
    you are being held in violation of the Constitution, laws,
    or treaties of the United States. Attach additional pages
    if you have more than four grounds. State the facts suppor-
    ting each ground.


GROUND ONE:

(a) Supporting facts (Do not argue or cite law. Just state the
specific facts that support your claim.):
Counsel ineffectiveness withheld exculpatory evidence ''USB
Drive," until months after guilty plea.

(b) Direct Appeal of Ground One:
    (1) If you appealed from the judgment of conviction, did


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   you raise this issue?    Yes [ ]   No [x]
   (2) If you did not raise this issue in your direct appeal,
   explain why:
I was focus on the issues that were before the court.
(c) Post-Conviction Proceedings:·
    (1) Did you raise this issue in any post-conviction motion,
                Yes [ ] No [x]      petition, or application?
    (2) If your answer to Question (c)(l) is "Yes," state:
   Type of motion or petition:
   Name and location of the court where the motion or petition
   was filed:
    Docket or case number. (if you know):
    Date of the court's decision:
   Result (attach a copy of the court's opinion or order,:if
    available):
    (3) Did you receive a hearing on your ~6tion, petition, or
    application?
        Yes [ ] No [ x]
    (4) Did you appeal from the denial of your.motion, petition,
    or application?
        Yes [ ]   No [x]
    (5) If your answer to Question (c)(4) is "Yes," did you
    raise this issue in the appeal?
        Yes [ ]   No [ x]
    (6) If your answer to Question (c)(4) is "Yes," state:
    Name and location of the court where the appeal was filed:
    Docket or case number (if you know):
    Date of the court's decision:
    Result (attach a copy of the court's opinion or order, if
    available):
    (7) If your answer to Question (c)(4) or Question (c)(S) is
    "No," explain why you did not appeal or raise this issue:


GROUND TWO
(a) Supporting facts (Do not argue or cite law. Just state the


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 specific facts that support your claim.):
 Counsel ineffectiveness to investigate all impeachment/credit-
 ability evidence, also, failed to cross-examine properly.



 (b) Direct Appeal of Ground Two:
     (1) If you appealed from the judgment of conviction, did
     you raise this issue?
         Yes [ ]   No [x]
     (2) If you did not raise this issue in your direct appeal,
     explain why:
. I was focus on the issues that were before the court.
 (c) Post-Conviction Proceedings:
     (1) Did you raise this issue in any post-conviction motion,
     petition, or application?
     Yes [ ]·No [x]
     (2) If your answer to Question (c)(l) is "Yes,11 state:
     Type of motion or petition:
     Name and location of the court where the motion or petition
     was filed:
     Docket or case number (if you know):
     Date of the court's decision:
     Result (attach a copy of the court's opinion order, if ava-
     ilable):
     (3) Did you receive a hearing on your motion, petition, or
     application?
         Yes [ ]   No [x]
     (4) Did you appeal from the denial of your motion, petition,
     or application?
         Yes [ ]   No [x]
     (5) If your answer to Question (c)(4) is "Yes," did you
     raise this issue in the appeal?
         Yes [ ]   No [ x]
     (6) If your answer to Question (c)(4) is "Yes," state:
     Name and location of the court where the appeal was filed:


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      Docket or case number (if you. know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if
      available):
      (7) If your answer to Question (c)(4) or Question (c)(S) is
      "No," explain why you did not appeal or raise this issue:


GROUND THREE
(a) Supporting facts (Do not argue or cite law. Just state the
specific facts that su.pport your claim~): I was not. informed by,.
ciounsel of my true sentenc:.irig expost1re - 11 points of enhance..:.:
men ts.; .

(b) Direct Appeal of GroundThree:
      (1) If you appealed from the judgment of conviction, did
      you raise this issue?
          Yes [ ] No [x]
      ( 2) . Tf you did not raise this issue in your direct appeal,
    explain why:
I was focus on the issues that were before the court.
(c) Post-Conviction Proceedings:
      (1) Did you raise this issue in any ppst-conviction motion,
             Yes [ ]   No [x]          petition, or application?
      (2) If your answer to Question (c)(l) is "Yes," state:
      Type ~f motion or petition:
      Name and location of the court where the motion or petition
      was filed:
      Docket or case number (if you know):
      Date of the court's decision:
      Result (attach a copy of the court's opinion or order, if
      available):
      (3) Did you receive a hearing on youn motion, petition, or
      application?
          Yes [ ] No [x]
      (4) Did you appeal from the denial of your motion, petition,
      or application?

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    (5) If your answer to Question (c)(4) is "Yes," did you
    raise this issue in the appeal?
        Yes [ ] No [x]
    (6) If your answer to Question (c)(4) is "Yes," state:
    Name and location of the court where the appeal was filed:
    Docket or case number (if you know):
    Date of the court's decision:
    Result (attach a copy of the court's opinion or order, if
    available):
    (7) If your answer to Question (c)(4) or Question (c)(S) is
    '.''.No," explain why you did not appeal or raise this issue:


GROUND FOUR:
(a) Supportirig facts (Do not argue or cite law. Just state the
specific facts that support your claim.):
I was coerced.:by·coun:sel lo take plea.
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(b) Direct Appeal of Ground Four:
    (1) If you appealed from the judgment of conviction, did
    you raise this issue?
        Yes [ ] No [x]
    (2) If you did not raise this issue in your direct appeal,
    explain why:
I was focus on the issues that were before the court.
(c) Post-Conviction Proceedings:
    (1) Did you raise this issue in any post-conviction motion,
    petition, or application?
        Yes [ ]   No [x]
    (2) If your answer to Question (c)(1) is "Yes," state:'
    Type of motion or petition:
    Name and location of the court where the motion or petition
    was filed:
    Docket or case number (if you know):
    Date of the court's decision:
   Result (attach a copy of the court's opinion or order, if
    available):
    (3) Did you receive a hearing on your motion, petition, or
    application?
        Yes [ ] No [x]
    (4) Did you appeal from the denial of your motion, petition,
    or application?
        Yes [ ]     No [ x J
    (5) If your answer to Question (c)(4) is "Yes," did you
    raise this issue in the appeal?
        Yes [ ]     No [x]
    (6) If your answer to Question (c)(4) is "Yes," state:
    Name and location of the court where the appeal was filed:
    Docket 6r case number -(if you kriow): -
    Date of the court's decision:
    Result {attach a copy ~f the courtts opinion or ord~r, if
    available):
    (7) If your answer to Question (c)(4). or Question (c)(S) is
    "No," explain why.you did not appeal or raise this issue:


GROUND FIVE:
(a) Supporting facts (Do not argue or citeclaw. Just state.the
specific facts that support your claim.):
Counsel ineffectiveness to assert/object to unfair hearings.
(b) Direct Appeal of Ground Five:
    (1) If you appealed from the judgment of conviction, did
    you raise this issue?
        Yes [   J   No [x]
    (2) If you did not raise this issue in your direct appeal,
    explain why:
I was focus on the issues that were before the court.
(c) Post-Conviction Proceedings!
    (1) Did you raise this issue in any post-conviction motion,
    petition, or application?
        Yes [ ] No [ ]


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    (2) If your answer to Question (c)(l) is "Yes," state:
    Type of motion or petition:
    Name and location of the court where the motion or petition
    was filed:
    Docket or case number (if you know):
    Date of the court's decision:
    Result (attach a copy of the court's opinion or order, if
    available):
    (3) Did you receive a hearing on your motion, petition, or
    application?
        Yes [ ] No [ x]
    (4) Did you appeal from the denial of your motion, petition,
    or application?
        Yes[] No[x],··
    (5) If your answer to Question (c)(4) is "Yes,',' did you
    raise this issue in ihe appeal?
        Yes [ ]   No [x]
    ,(6) If your answer t.o Question (c)(4) is "Yes," state:
    Name and location of the court where the appeal was filed:
    Docket or case number (if you know):
    Date of the court's decision:
    Result (attach a copy of the court's opinion or order, if
    available):
    (7) If your answer to Question (c)(4) or Question (c)(5) is
    "No," explain why you did not appeal or raise this issue:
13. Is there any ground in this motion that you have not pre-
    viously presented in some federal court? If so, which ground
    or grounds have not been presented, and state your reasons
    for not presenting them:
    No.
14. Do you have any motion, petition, or appeal now pending (
    filed and not decided yet) in any court for the judgment
    you are challenging?   Yes [ ] No [x]
    If "Yes," state the name and location of the court, the
    docket or case number, the type of proceeding, and the


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    issues raised.
15. Give the name and address, if known, of each attorney who
    represented you in the following stages of the judgment you
    are challenging:
    (a) At preliminary hear~ng: Robert Gerard Golger, Russo &
    Rizio, LLC, 10 Sasco Hill Road, Fairfield, CT 06824.
    (b) At arraignment and plea: Robert Gerard Golger, Russo &
    Rizio, LLC, 10 Sasco Hill Road, Fairfield, CT 06824;
    (c) At trial: No.
    (d) At sentencing: :Anthony David Collins, Collins & Martin
    PC, 55 Town Line Rd., 3rd Fl., Wethersfield, CT 06109.
    (e) On appeal: James I. Glasser, Wiggin and Dana LLP, One
    Century Tower, 265 Church Street, New Haven, CT 06510.
    (f) ~n any post-convi~tion proceeding: No.
    (g) On appeal from any ruling against you in a post-convic-
    tion proceeding:
16. Were you sentenced on more than ons count of an indictment,
    or on more than one. indictment~ in the same court and at
    the same time?      Yes [ ]   No [x]
17. Do you have any future sentence to serve after.you complete
    the sentence for the judgment that you are ~challenging?
    Yes [ ]   No [x]
    (a) If SOf give name and location of court that imposed the
    other sentence you will serve in the future:
    (b) Give the date the other sentence was imposed:
    (c) Give the length of the other sentence:
    (d) Have you filed, or do you plan to file, any motion, pe-
    tition, or application that challenges the judgment or sen-
    tence to be served in the future?      Yes [ ]   No [x]
18. TIMELINESS OF MOTION: If your judgment of conviction became
    final over one year ago, you must explain why the one-year
    statute of limitations as contained in 28 U.S.C.      § 2255
    does not bar your motion.*
    § 2255 is timely filed.


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Therefore, movant asks that the Court grant the following relief:
I want to take my plea back to not guilty plea, or any other
relief to which rnovant may be entitled to.


                             Signature of Attorney (if any)



I declare (or certify, verify, or state) under penalty of perjury
that the foregoing is true and correct and that this Motion under
28 U.S.C. § 2255 was placed in the prison mailing system on



Executed (signed) on




                                   Sign tur\ cf
                                   Ronald c.- ear-Zuleta
                                   Reg. No. 25308-111
                                   Canaan USP
                                   P.O. Box - 300
                                   Waymart, PA 18472




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